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v. Nc. 4:17-CR-122~Y
ANTHONY ALEXANDER FERRARI (Ol)

CONSENT TO AI)MINISTRATION OF GUILTY PLEA AND A_LLOCUTION
BY UNITED STATES MAGISTRATE JUDGE

I, Anthony Alexander Ferrari, the Defendant in this eause-, With the advice and
counsel of my attorney, hereby agree and consent to be advised of my rights and enter a
voluntary plea of guilty before a United States Magistrate Judge. l understand that the
plea is subject to the approval of the United States District Judge, Who retains final
decision making authority over the plea, and that Sentencing Wili be conducted by the
District Judge.

DATE sIGNED; § 1 /QA/f 2

 

 

Acquiescence in Consem‘: Conserzt:
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CODY QOFER A NY ALEXANDER FERRARI
Attorney for Defendant D endaut
_ ORDER

I, JEFFREY L. CURETON, United States Magistrate ledge for the Northern
District of Texas, find that the Defendant knowingly and voluntarily Waives his right to
enter a guilty plea before the United States District Judge and that he has consented to
proceeding With his plea of guilty before me.

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sIGNEI) and EN_TERBD on this j§ day of %\,.g\», 2017.

   

 

 

 

 

